                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                    [do not modify this line]

                                        No. COA21-375

                                 Filed: [do not modify this line]

     Buncombe County, Nos. 17 CRS 83204, 17 CRS 83209, 17 CRS 83792

     STATE OF NORTH CAROLINA,

                  v.

     TIMOTHY ROBERT GALLION.


           Appeal by defendant from judgment entered 11 February 2020 by Judge Carla

     Archie in Buncombe County Superior Court. Heard in the Court of Appeals 14

     December 2021.


           Attorney General Joshua H. Stein, by Special Deputy Attorney General Robert
           C. Montgomery and Special Deputy Attorney General Daniel P. O’Brien, for the
           State.

           William D. Spence for Defendant-Appellant.


           CARPENTER, Judge.


¶1         Defendant appeals from judgment after a jury convicted him of first degree

     murder, possession of a firearm by a felon, and driving while impaired. After careful

     review of the record, we find no error.

                         I.   Factual &amp; Procedural Background

¶2         The State’s evidence presented at trial tends to show the following: Defendant’s

     wife, Ms. Gallion, testified that on 22 March 2017, Defendant made the following
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     statement to her: “I’m going to kill your mother, I’m going to kill your sister, and I’m

     going to kill everybody that knows you, and then I’ll kill you.” Ms. Gallion further

     testified that on the same day Defendant communicated the threats, she took out a

     warrant for his arrest.

¶3         At around 3:46 p.m. that day, officers of the Buncombe County Sheriff’s

     Department were dispatched to Defendant’s home to arrest him.              The officers

     attempted to contact Defendant or Ms. Gallion but could locate neither of them on

     the property. They observed through the window of a workshop on Defendant’s

     property “a handful of bullets on a shelf.”

¶4         Sergeant Nathan Ball (“Sergeant Ball”) of the Buncombe County Sheriff’s

     Office oversaw the department’s Community Enforcement Team, which handles

     community complaints including warrant services. He testified his team responded

     to the call to Defendant’s home.       Upon Sergeant Ball learning from his team

     Defendant was not at the residence, he went to the nearby intersection of Wittemore

     Branch Road and Barnardsville Highway, where Defendant might cross if he were to

     return home. As he was talking with his colleague Captain Elkins regarding the

     matter, they heard a dispatch for the fire department regarding a structure fire on

     Dillingham Road.

¶5         Sergeant Ball headed to the area of the fire, as he knew Defendant “had a

     previous address on Dillingham Road.” On his way there, Sergeant Ball saw someone

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     getting into a green Dodge pickup truck, matching the description of Defendant’s

     vehicle, parked beside Sheena’s Restaurant.             Sergeant Ball dispatched other

     members of his team to the location. The officers left Defendant’s home, heading in

     the direction of the restaurant. Sergeant Ball knew Defendant was a convicted felon.

¶6         At around the same time that afternoon, Defendant went to the property of

     Tommy Carson (“Carson”), the uncle of Defendant’s former wife, at 397 Dillingham

     Road where Carson’s house is located and where Carson used to operate a grocery

     store. Carson testified Defendant approached and first asked him for beer or wine,

     but when Carson did not have these items, Defendant asked to borrow ten dollars.

     After Carson responded he did not have any money either, Defendant showed him his

     “bulletproof” jacket with a Buncombe County Sheriff’s Office SWAT team patch

     affixed to an arm and a “9 millimeter Uzi” firearm.

¶7         Carson advised he was heading out but could pick up money for Defendant at

     the bank if Defendant wanted to follow him there. Defendant declined the offer

     telling Carson, “he had to go up the road to take care of some business.” Carson

     witnessed Defendant get in his truck and go up the road. Carson drove away with

     Brooke Blagg (“Blagg”) who lived on his property. Defendant ultimately left Carson’s

     property shortly after Carson at 4:24 p.m. At 4:31 p.m. a call came into the fire

     department regarding a fire in Carson’s building. Defendant stated in an interview

     with investigators on 23 March 2017 that he headed over to Sheena’s Restaurant

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       after leaving Carson’s house. According to Defendant, he asked the owner of the

       restaurant for twenty dollars, then went home. He also admitted to drinking six

       beers and “maybe four” Johny Bootlegger spirited beverages on 22 March 2017.

¶8           Blagg saw Defendant on Carson’s property on 22 March 2017 and testified she

       and Carson “left the store and [Defendant] went up to the church and turned around

       and came back down” to Carson’s property. She confirmed she saw Defendant leave

       the store and drive towards the house of Bobby Pegg (“Pegg’”), the victim. She added,

       “because right past the church [on Dillingham Road] is where [Defendant] had lived

       at with [Pegg].” “The church . . . it’s going in the direction” of Pegg’s house.

¶9           Officers located Defendant traveling on Barnardsville Highway and followed

       him after he turned on Wittemore Branch Road. Defendant did not stop his vehicle

       when two police cars pursued him with blue lights and sirens activated.

¶ 10         Officers eventually stopped Defendant via a roadblock. They approached his

       vehicle with guns drawn and removed Defendant from the vehicle after he refused to

       show his hands. In Defendant’s vehicle, officers found two firearms in plain view.

       The officers also observed “blood on the steering wheel, on a door, [and on] the driver’s

       seat.” Officers arrested Defendant at approximately 4:43 p.m. and took inventory of

       his truck. They recovered firearms including a Ruger 9-millimeter “shotgun” and a

       Cobray 9-millimeter pistol as well as three 9-millimeter magazines, one 9-millimeter

       flash suppressor, and 9-millimeter ammunition.                The 9-millimeter ammunition

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       included “silver-colored casings with the headstamp of FC LUGER 9 MM.” Officers

       performed a pat down of Defendant and located a GPS monitoring device on his left

       ankle. They also “noticed a strong odor of alcohol” coming from Defendant’s person.

       Defendant was transported to a detention center where he refused to perform an

       alcohol breath test; his blood was drawn for analysis pursuant to a search warrant.

¶ 11         Deputy Leslie Meade (“Deputy Meade”) of the Buncombe County Sheriff’s

       Department performed standardized field sobriety tests on Defendant.        Deputy

       Meade testified Defendant showed six of six clues on the horizontal gaze nystagmus

       (“HGN”) test, and seven of eight clues on the walk and turn test. Defendant refused

       to complete the one-legged stand test.

¶ 12         At approximately 2:00 p.m. the following day—23 March 2017—Pegg’s niece,

       Summer Riddle (“Riddle”) and his mother, Jeanette Pegg, arrived at Pegg’s house on

       665 Dillingham Road to check on him after they had not heard from him since 21

       March 2017. Defendant’s brother owned the house where Pegg lived, and Defendant

       had performed carpentry work and repairs on the house.

¶ 13         Pegg was last seen alive on 22 March 2017 at about 1:00 p.m. by his neighbor

       who witnessed Pegg standing in his driveway. Riddle and Jeanette Pegg found Pegg’s

       deceased body sitting on the couch in the living room. Riddle testified the kitchen

       door was unlocked when she arrived at the house, and it was normal for Pegg to leave

       the house unlocked when he was home. Riddle and Jeanette Pegg called 911 within

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       minutes of arriving on the scene. Law enforcement responded to the 911 call and

       initiated a homicide investigation. Officers found silver-colored shell casings with

       the headstamp “FC LUGER 9 MM,” matching the description of the bullets found in

       Defendant’s vehicle, around Pegg’s body.

¶ 14         An autopsy revealed Pegg died from gunshot wounds to his head, although an

       exact date or time of death could not be determined from the examination. The

       autopsy report shows Pegg had three gunshot wounds to his head. Two of the wounds

       had “soot and stippling” around them, indicating the muzzle of the gun was close to

       Pegg when fired. The third wound did not have soot or stippling, indicating the gun

       was fired at an “indeterminate range” from the deceased.

¶ 15         On 29 January 2020, Defendant filed a pretrial motion to suppress any

       evidence seized during the search of his home address on the basis the search warrant

       affidavit “fails to implicate the premises,” as required by N.C. Gen. Stat. § 15A-244,

       the North Carolina Constitution, and the United States Constitution. Defendant also

       moved to suppress evidence of GPS data on the grounds his statutory rights were

       violated when privileged information, namely GPS data of his movements, was orally

       provided by the North Carolina Department of Public Safety (‘DPS”) to law

       enforcement before a court order was issued. On 3 February 2020, the trial court

       heard Defendant’s motion to suppress and orally announced its findings of facts and

       conclusions of law in open court.     The trial court concluded there had been no

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       substantial violation of Chapter 15A that warranted suppression and denied

       Defendant’s motion.

¶ 16         A jury trial began on 3 February 2020 before the Honorable Carla Archie in

       Buncombe County Superior Court. Defendant admitted to having been previously

       convicted of three charges of driving while impaired, resulting in a conviction of

       habitual driving while impaired.

¶ 17         At trial, Alyssa Tinnin (“Tinnin”) was tendered by the State as an expert in the

       field of forensic toxicology. Tinnin testified she conducted a chemical analysis on the

       blood sample identified as that taken from Defendant. Tinnin opined Defendant’s

       blood sample contained 0.17 grams of alcohol per 100 milliliters.

¶ 18         Elizabeth Wilson (“Wilson”), is a firearms examiner who, at the time of the

       hearing, was employed by the North Carolina State Crime Laboratory. Wilson was

       tendered as an expert in the area of firearms identification and examination. Wilson

       testified that she performs all tests on firearms based on reliable facts and data. She

       examined the Cobray 9-millimeter and Ruger 9-millimeter firearms seized from

       Defendant’s vehicle. Wilson also did comparison examinations of the shell casings,

       bullets, and projectiles that were collected from the homicide crime scene. Based on

       the results of her examination, Wilson concluded that seven shell casings found

       around Pegg’s’ body, the “caliber .38 class fired copper jacket” fragment that was

       imbedded in wood at Pegg’s home, the “caliber .38 class fired copper jacket” collected

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       from Pegg’s temple, and the “caliber .38 class fired jacketed bullet” collected from

       Pegg’s jaw were all fired from the same Cobray 9-millimer pistol seized from

       Defendant.

¶ 19         On 27 March 2017 at approximately 1:58 p.m., Sergeant Ryan Jordan

       (“Sergeant Jordan”) of the Buncombe County Sheriff’s Department obtained a search

       warrant for Defendant’s GPS monitoring data obtained from Defendant’s previously

       mandated post-release electronic monitoring device.          The search warrant was

       executed at 2:13 p.m. that afternoon. Sergeant Jordan testified he obtained the

       information sought in the search warrant from Joan McCurry (“McCurry”), the Chief

       Probation and Parole Officer for DPS, approximately three days after he executed the

       search warrant.

¶ 20         At trial, McCurry testified regarding the GPS communication device

       Defendant was wearing and the business records created from such a device.

       McCurry testified at the suppression hearing she verbally provided Defendant’s GPS

       data pinpoints for the date of 22 March 2017 to Captain Elkins and Sergeant Jordan

       upon their request and before a search warrant was issued.

¶ 21          Michelle Wilson, an account manager for BI Incorporated, also testified. BI

       Incorporated contracted with the Department of Public Safety of the State of North

       Carolina to provide an electronic curfew monitoring service that the State uses for its

       adult probation and parole section.         Michelle Wilson explained that due to

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       atmospheric conditions, GPS points could drift but depending on how many satellites

       are tracking at a given time, the GPS data is generally accurate within a range of 25

       to 100 feet. She testified the GPS data for Defendant showed Defendant was at the

       address of 665 Dillingham Road, Pegg’s home, at 4:07 p.m. on 22 March 2017. The

       State also offered evidence through Michelle Wilson tending to show Defendant was

       at Pegg’s home between the hours of 3:00 p.m. to 4:22 p.m. on 22 March 2017.

¶ 22         A search warrant for Defendant’s home was issued on 27 March 2017 at

       approximately 7:59 p.m. and was executed that evening at 8:29 p.m. Officers seized

       9-millimeter ammunition with the headstamp “FC LUGER 9 MM” from inside

       Defendant’s workshop and seized ammunition, handwritten notes, and numerous

       firearms from Defendant’s home.

¶ 23         On 22 March 2017, Defendant was charged with driving while impaired,

       driving while license revoked for impaired driving, possession of a firearm by a felon,

       second degree arson, and first degree murder. On 7 August 2017, a Buncombe County

       grand jury indicted Defendant on the charges of driving while licensed revoked, in

       violation of N.C. Gen. Stat. § 20-28(a1); habitual impaired driving, in violation of N.C.

       Gen. Stat. § 20-138.5; possession of a firearm by a felon, in violation of N.C. Gen. Stat.

       § 14.415.1; second degree arson, in violation of N.C. Gen. Stat. § 14-58; and first

       degree murder, in violation of N.C. Gen. Stat. § 14-17.

¶ 24         At the close of the State’s evidence, Defendant moved to dismiss the charges of

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       second degree arson and first degree murder based on insufficiency of evidence. The

       trial court denied his motion. Defendant renewed his motion to dismiss at the close

       of all evidence, which was also denied. On 11 February 2020, the State dismissed the

       charge of driving while licensed revoked. On the same day, the jury found Defendant

       guilty of driving while impaired, possession of a firearm by a felon, and first degree

       murder; the jury found Defendant not guilty of second degree murder. Defendant

       gave oral notice of appeal in open court.

                                       II.      Jurisdiction

¶ 25         This Court has jurisdiction to address Defendant’s appeal from a final

       judgment pursuant to N.C. Gen. Stat. § 7A-27(b)(1) (2021) and N.C. Gen. Stat. § 15A-

       1444(a) (2021).

                                             III.   Issues

¶ 26         The issues before this Court are whether: (1) probable cause existed for the

       magistrate to issue the search warrant for Defendant’s residence; (2) the findings of

       fact are supported by competent evidence and whether the findings of fact in turn

       support the conclusions of law in the trial court’s ruling on Defendant’s motion to

       suppress evidence seized from his residence; (3) the trial court committed plain error

       in refusing to suppress electronic monitoring data where the Secretary of DPS

       allowed Defendant’s GPS data to be orally released before a search warrant was

       issued; (4) the trial court erred by refusing to allow Defendant to cross-examine a


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       witness about a Facebook message; (5) the trial court committed plain error by

       admitting testimony on firearms identification and examination from the State’s

       expert witness; and (6) the trial court erred by denying Defendant’s motion to dismiss

       the first degree murder charge.

       IV.   Motion to Suppress Evidence Obtained from Defendant’s Residence

¶ 27         In his first argument, Defendant challenges the sufficiency of the search

       warrant application for his residence as well as the trial court’s denial of his motion

       to suppress all evidence seized through a search warrant of this address.

       A. Sufficiency of the Search Warrant Application

¶ 28         We first consider Defendant’s argument that the search warrant affidavit is

       defective because it fails to implicate his home address and does not provide a basis

       to support probable cause.

¶ 29         The Fourth Amendment to the Constitution of the United States, made

       applicable to the states through the Fourteenth Amendment, protects “[t]he right of

       the people to be secure in their persons, houses, papers, and effects, against

       unreasonable searches and seizures . . . .” U.S. Const. amends. IV, XIV. Under the

       Fourth Amendment, a search warrant may be issued only “upon probable cause,

       supported by [o]ath or affirmation, and particularly describing the place to be

       searched, and the persons or things to be seized.” U.S. Const. amend. IV.

¶ 30          “Article I, Section 20 of the Constitution of North Carolina likewise prohibits


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       unreasonable searches and seizures and requires that warrants be issued only on

       probable cause,” although the language of the North Carolina Constitution differs

       from that of the United States Constitution. State v. Allman, 369 N.C. 292, 293, 794

       S.E.2d 301, 302–03 (2016); see N.C. Const. art. I, § 20; see also N.C Gen. Stat. § 15A-

       245 (2021).

¶ 31         The North Carolina Supreme Court adopted the “totality of the circumstances

       test to determine whether probable cause exists under Article I, Section 20” of the

       North Carolina Constitution. Allman, 369 N.C. at 293, 794 S.E.2d at 303. “Our case

       law makes clear that when an officer seeks a warrant to search a residence, the facts

       set out in the supporting affidavit must show some connection or nexus linking the

       residence to illegal activity. Such a connection need not be direct, but it cannot be

       purely conclusory.” State v. Bailey, 374 N.C. 332, 335, 841 S.E.2d 277, 280 (2020).

¶ 32         Under North Carolina law, an application for a search warrant must meet

       certain requirements, including that it “be made in writing upon oath or affirmation.”

       See N.C. Gen. Stat. § 15A-244 (2021). Additionally, each application must contain:

                     (1)   The name and title of the applicant; and
                     (2)   A statement that there is probable cause to believe
                           that items subject to seizure under [N.C. Gen. Stat.
                           §] 15A-242 may be found in or upon a designated or
                           described place, vehicle, or person; and
                     (3)   Allegations of fact supporting the statement. The
                           statements must be supported by one or more
                           affidavits particularly setting forth the facts and
                           circumstances establishing probable cause to believe

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                           that the items are in the places or in the possession
                           of the individuals to be searched; and
                    (4)    A request that the court issue a search warrant
                           directing a search for and the seizure of the items in
                           question.

       N.C. Gen. Stat. § 15A-244(1)–(4).

¶ 33         A search warrant “affidavit is sufficient if it supplies reasonable cause to

       believe that the proposed search for evidence of the commission of the designated

       criminal offense will reveal the presence upon the described premises of the objects

       sought and that they will aid in the apprehension or conviction of the offender.” State

       v. Vestal, 278 N.C. 561, 575–76, 180 S.E.2d 755, 765 (1971) (citations omitted); see

       also N.C. Gen. Stat. § 15A-244. “A magistrate must make a practical, common-sense

       decision, based on the totality of the circumstances, whether there is a fair probability

       that contraband will be found in the place to be searched.” State v. McKinney, 368

       N.C. 161, 164, 775 S.E.2d 821, 824 (2015) (citations and internal quotation marks

       omitted). Additionally, “a magistrate is entitled to draw reasonable inferences from

       the material supplied to him by an applicant for a warrant.” State v. Sinapi, 359 N.C.

       394, 399, 610 S.E.2d 362, 365 (2005).

¶ 34         It is well-established that “great deference should be paid a magistrate’s

       determination of probable cause and . . . after-the-fact scrutiny should not take the

       form of a de novo review.” State v. Lewis, 372 N.C. 576, 584, 831 S.E.2d 37, 43 (2019)

       (citation omitted). “Instead, a reviewing court is responsible for ensuring that the

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       issuing magistrate had a substantial basis for . . . conclud[ing] that probable cause

       existed.” McKinney, 368 N.C. at 165, 775 S.E.2d at 825 (citations and internal

       quotation marks omitted).

¶ 35         Here, Sergeant Jordan included with his application for a search warrant an

       affidavit stating his name and title, as well as the following statement regarding

       probable cause:

                    Based on my training and experience, and the facts as set
                    forth in this affidavit, I believe that in records in and
                    around the residence, outbuildings, and curtilage of
                    [Defendant’s residence] in Barnardsville, NC there exists
                    evidence of a crime and contraband or fruits of that crime.

¶ 36         After reciting his training and experience in the affidavit, Sergeant Jordan

       made the following allegations of fact to support his statement of probable cause:

                    (1)   On 3-23-2017, the Buncombe County Emergency
                          Operations Center received a call on 911 stating that
                          an individual had been discovered with an apparent
                          gunshot [wound] at 665 Dillingham Rd,
                          Barnardsville, NC. First Responders arrived on
                          scene and located Bobby Ray Pegg II deceased in his
                          home.     Detectives with the Buncombe County
                          Sheriff’s Office (BCSO) responded to the residence
                          and began conducting an investigation.
                    (2)   During the investigation, detectives located several
                          silver colored spent 9mm shell casings in the area
                          around Pegg’s body. All the silver colored spent
                          9mm shell casings were head stamped with “F C
                          LUGER 9MM.”
                    (3)   Detectives discovered the last time Pegg had been
                          seen alive, was on 3-22-2017 at approximately 12:30
                          p.m.

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(4)    On 3-22-2017 it was reported to the BCSO that
       throughout the day, Timothy Robert Gallion had
       been making threats to his family stating that he
       would kill them, kill any law enforcement that
       attempted to apprehend him, and then kill himself.
       An arrest warrant was obtained by family members
       for Communicating Threats.
(5)    Deputies traveled to Gallion’s residence . . . on 03-
       22-17 to search for Gallion. While there, deputies
       went to a workshop just down the driveway from the
       residence. A deputy looked into the window to see if
       Gallion was in the workshop and observed a handful
       of bullets on a shelf.
(6)    Gallion was located on Whittemore Branch Rd in
       Barnardsville, NC, driving a green 1996 Dodge Ram
       Pickup Truck, where he was arrested for his open
       warrants. Gallion was located at approximately
       4:43 pm on 3-22-2017. Whittemore Branch Rd is in
       close proximity to 665 Dillingham Rd.
(7)    During the arrest, multiple firearms were seen in
       plain view in the 1996 Dodge Ram Pickup Truck.
       Two (2) of the firearms located in the pickup truck
       were 9mm pistols. Also located inside the truck,
       were multiple boxes of ammunition. All 9mm
       ammunition had silver colored shell casings with the
       head stamp of “F C LUGER 9MM.”                     This
       ammunition is similar to the spent shell casings
       located in the proximity of Pegg’s body.
(8)    During the arrest, the arresting officers observed
       that Gallion was intoxicated.             Gallion was
       subsequently charged with Driving While Impaired.
(9)    During the inventory of the 1996 Dodge Ram
       Pickup, officers observed blood smears inside the
       vehicle on the steering wheel, driver’s seat, and
       interior portion of the driver’s side door. Gallion also
       had blood on his hands.
(10)   Detectives interviewed a witness who stated that on
       3-22-2017, he spoke with Gallion at 456 Dillingham
       Rd. When asked about Adrian Gallion, Timothy

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                            Gallion’s brother, Timothy Gallion became upset
                            and stated that he was angry for not being paid for
                            work he had done on a home his brother owned. This
                            residence is the home located at 665 Dillingham Rd,
                            Barnardsville, NC where Pegg was found deceased
                            on 3-23-2017.
                     (11)   The witness stated Gallion showed him a pistol
                            during their conversation. The pistol matched the
                            description of one of the 9mm pistols found in the
                            green Dodge Ram Pickup truck when Gallion was
                            arrested.
                     (12)   The witness stated that later in the conversation,
                            Gallion pointed at a Buncombe County Sheriff’s
                            Office patch affixed to his shirt and made the
                            comment that the patch could get him out of trouble.
                            At the time of Gallion’s arrest, he was wearing
                            clothing with the Buncombe County Sheriff’s Office
                            patch affixed to it.
                     (13)   The witness described Gallion as being intoxicated
                            at the time of their conversation.
                     (14)   Detectives spoke with a separate witness who stated
                            they observed Gallion driving in the direction of 665
                            Dillingham Rd. The time was estimated to be at
                            approximately 3:30 pm.
                     (15)   The affiant knows that Gallion was charged in an
                            incident in 2012 involving the discharge of a firearm
                            at another person, which resulted in a conviction.

¶ 37         Sergeant Jordan included in his description of items to be seized, inter alia,

       bloodstains, DNA evidence, weapons, ammunition, drugs, and drug paraphernalia.

¶ 38         Defendant points to State v. Campbell, 282 N.C. 125, 191 S.E.2d 752 (1972)

       and State v. Armstrong, 33 N.C. App. 52, 234 S.E.2d 197 (1977) to argue the trial

       court erroneously denied his motion to suppress because Sergeant Jordan’s affidavit

       “fail[s] to   reveal any    underlying     facts or circumstances implicating   the

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       premises/outbuildings at [his residence] to any crime.”       Specifically, Defendant

       contends “[n]othing connects the [allegation in the affidavit that there were] ‘bullets

       on a shelf’” in his workshop, to the bullets found in his truck or the bullet casings

       found near the homicide victim. We disagree.

¶ 39         In Campbell, officers sought a warrant to search the residence of suspected

       drug dealers for illegal drugs, but the search warrant did not state any underlying

       facts about the residence other than the suspects lived in the house. 282 N.C. at 130,

       191 S.E.2d at 756. Our Supreme Court held that the search warrant affidavit was

       “fatally defective” because it “did not provide a sufficient basis for a finding of

       probable cause to search the premises described in the warrant . . . .” Id. at 131–32,

       191 S.E.2d at 757. The Court reasoned that “nothing in the . . . affidavit affords a

       reasonable basis upon which the issuing magistrate could conclude that any illegal

       possession or sale of narcotic drugs had occurred, or was occurring, on the premises

       to be searched. Id. at 131, 191 S.E.2d at 757.

¶ 40         Similarly, in Armstrong, an officer received a warrant to search the residence

       of a suspect who was alleged to have participated in illegal sales of marijuana. 33

       N.C. App. at 55, 234 S.E.2d at 198. Our Court concluded that there was “no allegation

       [in the search warrant affidavit] that any marijuana was ever seen, kept, sold, or

       delivered” at the defendant’s residence. Id. at 55, 234 S.E.2d at 199.

¶ 41         Here, there is no direct evidence linking the “handful of bullets on a shelf” seen

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       in Defendant’s workshop to the charge of first degree murder. See Bailey, 374 N.C.

       at 335, 841 S.E.2d 277 at 280. However, other facts alleged in the affidavit show

       “some connection or nexus” to link Defendant’s residence to the murder. See id. at

       335, 841 S.E.2d 277 at 280 (emphasis added). The allegations include: (1) Defendant

       was arrested and found with two 9-millimeter firearms in his truck; (2) the

       ammunition found in Defendant’s truck, following his arrest, was consistent with the

       shell casings found around the murder victim’s body; (3) there were blood smears

       inside of Defendant’s truck and on his hands when he was arrested; (4) Defendant

       was arrested near the scene of the crime; (5) Defendant made statements to a witness

       on the day he was arrested which implied he had motive to kill the victim, and

       Defendant showed the witness a pistol during the conversation; and (6) the pistol

       Defendant showed the witness matched the description of the firearm found in

       Defendant’s truck.

¶ 42         We conclude the allegations in Sergeant Jordan’s affidavit were sufficient to

       allow a magistrate to reasonably infer that evidence related to the murder such as

       weapons, ammunition, bloodstains, and DNA evidence could likely be found at

       Defendant’s residence and would aid in the apprehension or conviction of the

       offender. See Vestal, 278 N.C. at 575–76, 180 S.E.2d at 765; Sinapi, 359 N.C. at 399,

       610 S.E.2d at 365; see also State v. Rook, 304 N.C. 201, 221–22, 283 S.E.2d 732, 745
       (1981) (holding an affidavit clearly established probable cause to believe that a

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       wooden club and bloody clothing constituted evidence of the crime being investigated,

       and that the items were probably located in the defendant’s home even though there

       was no direct evidence linking the crime to the home). Given the totality of the

       circumstances, “the issuing magistrate had a substantial basis for . . . conclud[ing]

       that probable cause existed” in this case. See McKinney, 368 N.C. at 165, 775 S.E.2d

       at 824–25.

       B. The Trial Court’s Findings of Fact &amp; Conclusions of Law

¶ 43          Defendant next contends the evidence and record do not support the trial

       court’s finding of fact stating:

                     [b]ased on Officer Jordan’s training and experience and
                     facts uncovered as part of law enforcement’s investigation,
                     he articulated as part of both search warrants items that
                     he was looking for that were relevant to the investigation
                     and that would aid in the apprehension or conviction of a
                     suspect, namely the defendant.

       Moreover, Defendant contends that the remaining findings do not support the trial

       court’s conclusion of law finding sufficient probable cause for the issuance of the

       search warrant.

¶ 44          This Court’s review of a trial court’s decision on a motion to suppress “is strictly

       limited to determining whether the trial judge’s underlying findings of fact are

       supported by competent evidence, in which event they are conclusively binding on

       appeal, and whether those factual findings in turn support the judge’s ultimate



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       conclusions of law.” State v. Cooke, 306 N.C. 132, 134, 291 S.E.2d 618, 619 (1982).

¶ 45         Following the hearing on Defendant’s motion to suppress, the trial court ruled

       on the motion, announcing its findings of fact and conclusions of law in open court.

       The trial court made the following findings of fact:

                    (1)    On March the 23rd, 2017, Buncombe County
                           Emergency Operations Center received a 911 call
                           stating that an individual had been discovered with
                           an apparent gunshot [wound] at 665 Dillingham
                           Road.
                    (2)    First responders arrived on the scene and located
                           Bobby Pegg deceased in his home. They also located
                           several silver-colored spent 9 millimeter shell
                           casings in the area around Pegg’s body.
                    (3)    The shell casing were headstamped with FC LUGER
                           9 MM.
                    (4)    Officers uncovered that the defendant, Timothy
                           Gallion, was making threats against his wife and
                           that she or someone in the family took out warrants
                           against the defendant for communicating threats.
                    (5)    He was stopped in a green pickup truck on March
                           the 22nd, 2017, in close proximity to the scene of the
                           murder.
                    (6)    He was served with the outstanding warrant for
                           communicating threats. And as part of the search of
                           the pickup truck, officers located two 9 millimeter
                           pistols, as well as 9 millimeter ammunition with
                           silver-colored shell casings and a headstamp of FC
                           LUGER 9 MM. That ammunition was similar to the
                           ammunition located near the homicide victim’s body.
                    (7)    Officers also found in the pickup truck blood smears
                           on the steering wheel, driver’s seat, and interior
                           portion of the driver’s side door. The defendant also
                           had blood stains on his hands.
                    (8)    Officers talked to a witness who had a recent
                           conversation with the defendant. The witness

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       stated that later in the conversation [the defendant]
       pointed at a Buncombe County Sheriff’s Office patch
       affixed to his shirt and said the comment, and made
       the comment that the patch could get him out of
       trouble. At the time of the defendant’s arrest, he
       was wearing clothing with a Buncombe County
       Sheriff’s Office patch affixed to it.
(9)    On March the 27th, 2017, at 1:58 p.m. Officer Jordan
       with the Buncombe County Sheriff’s Department
       obtained a search warrant for GPS monitoring data.
       That search warrant was executed at 2:13 p.m. on
       the same day.
(10)   At 7:59 p.m. Officer Jordan obtained a search
       warrant for the defendant’s residence at 95 Christy
       Lane. That search warrant was executed at 8:29
       p.m. the same day.
(11)   Prior to obtaining the search warrant for GPS data,
       Detective Elkins contacted Joan McCurry with the
       Department of Public Safety Probation and Parole
       Office. Detective Elkins asked for GPS location data
       of the defendant.
(12)   On or about March the 22nd, 2017, Ms. McCurry
       provided Detective Elkins verbal information that
       the defendant’s location points were clustered
       around points of interest in the investigation.
(13)   After receiving a search warrant, Ms. McCurry
       provided a spreadsheet to Detective Jordan with
       detailed location records for the defendant’s
       electronic monitoring.
(14)   Prior to locating the defendant as part of the traffic
       stop, officers went to the defendant’s residence
       searching for him in order to serve the outstanding
       communicating threats warrant. They looked into
       the window of a workshop outbuilding and saw
       bullets on a shelf of unknown type, brand, or caliber.
(15)   Based on Officer Jordan’s training and experience
       and facts uncovered as part of law enforcement’s
       investigation, he articulated as part of both search
       warrants items that he was looking for that were

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                           relevant to the investigation and that would aid in
                           the apprehension or conviction of a suspect, namely
                           the defendant.
                    (16)   [T]he Secretary of the North Carolina Department of
                           Public Safety has issued Administrative Memo
                           01.14 10-13 dated October 24, 2013, and updated by
                           Tip of the Month dated May 2016 directing that
                           Probation and Parole release electronic monitoring
                           information to law enforcement without the need for
                           a court order.

¶ 46         The trial court then made the following conclusions of law:

                    (1)    Based on the foregoing findings of fact, the Court
                           concludes as a matter of law that there was
                           sufficient probable cause for the issuance of both
                           search warrants.
                    (2)    [T]here has been no substantial violation of Chapter
                           15A that warrants suppression, and, therefore, the
                           defendant’s motion to suppress is denied.

¶ 47         At the suppression hearing on 3 February 2020, Sergeant Jordan testified that

       based on his “training and experience” he knows that “rounds are [typically] stored

       not only with the weapon, but also typically in the home of an individual.” He further

       testified based on his training and experience, information about a firearm, such as

       proof of purchase and documentation, is typically located in residences. Sergeant

       Jordan’s investigation uncovered the fact that Defendant had bullets of an unknown

       type on the shelf at his residence as well as casings head-stamped with “FC LUGER

       9 MM” found inside of his truck on 22 March 2017; Sergeant Jordan found casings

       matching the same description at the homicide scene of Bobby Pegg on 23 March



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       2017. Based on these facts, Sergeant Jordan requested items from Defendant’s home

       in the search warrant which he and his team “believed probably existed at

       [Defendant’s] residence,” including bloodstain evidence, DNA evidence, electronic

       and   telephonic   communications,     prescription      drugs,   controlled   substances,

       photographs, weapons, and other types of evidence such as casings.

¶ 48         In light of Sergeant Jordan’s testimony and the affidavit itself, there was

       competent evidence to support the finding challenged by Defendant. See Cooke, 306

       N.C. at 134, 291 S.E.2d at 619. The trial court’s findings of fact were supported by

       competent evidence, and thus, conclusively binding on appeal. See id. at 134, 291

       S.E.2d at 619. Further, the trial court’s ultimate conclusions of law are supported by

       its findings of fact. See id. at 134, 291 S.E.2d at 619. Therefore, the trial court did

       not err in denying Defendant’s motion to suppress evidence from his residence.

       V.    Motion to Suppress Evidence of Defendant’s Electronic Monitoring
                                          Data

¶ 49         In his second argument, Defendant contends the trial court erred in refusing

       to suppress electronic monitoring data and allowing the State to introduce the data

       at trial because DPS released Defendant’s electronic monitoring information to law

       enforcement without a court order, in violation of N.C. Gen. Stat. § 15-207. The State

       argues Defendant is not entitled to a new trial because: “(1) the evidence introduced

       was obtained pursuant to a court order; (2) the Secretary of [DPS] consented to



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       disclosure of the evidence; (3) the evidence was not subject to suppression; and (4)

       officers would have sought a search warrant for the records regardless of any

       statutory violation.” As discussed below, we agree with the State that no plain error

       occurred at trial.

¶ 50         Here, Sergeant Jordan was investigating the death of Bobby Pegg. In the

       course of the investigation, Sergeant Jordan found out from Captain Elkins, who was

       also investigating Pegg’s death, that Defendant was a suspect and wore an electronic

       monitoring device. Sergeant Jordan and Captain Elkins spoke with McCurry about

       obtaining Defendant’s GPS information, and she provided the requested data

       verbally over the telephone. Sergeant Jordan subsequently prepared and executed a

       search warrant for the GPS data, which was located in the care, custody, and control

       of DPS, and he received that information pursuant to the search warrant.

¶ 51         Although Defendant filed a pre-trial motion to suppress the GPS data, he

       acknowledges he did not object to the introduction of GPS evidence during the trial

       on the basis DPS released privileged information to law enforcement without a court

       order. Rather, Defendant objected at trial on the grounds the witness testifying

       regarding the DPS records did not “lay the proper foundation that th[e] GPS

       communication device was working properly . . . .” See State v. Oglesby, 361 N.C. 550,

       554, 648 S.E.2d 819, 821 (2007) (“[A] trial court’s evidentiary ruling on a pretrial

       motion is not sufficient to preserve the issue of admissibility for appeal unless a

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       defendant renews the objection during trial.”); see also N.C. R. App. P. 10(a)(1) (“In

       order to preserve an issue for appellate review, a party must have presented to the

       trial court a timely request, objection, or motion, stating the specific grounds for the

       ruling the party desired the court to make if the specific grounds were not apparent

       from the context.”). Thus, Defendant did not properly preserve the issue for appeal

       as to the trial court’s alleged statutory violation under N.C. Gen. Stat. § 15-207. See

       N.C. R. App. P. 10(a)(1). Therefore, we review the alleged statutory violation under

       the plain error standard. See N.C. R. App. P. 10(a)(4).

                    [T]he plain error rule . . . is always to be applied cautiously
                    and only in the exceptional case where, after reviewing the
                    entire record, it can be said the claimed error is a
                    fundamental error, something so basic, so prejudicial, so
                    lacking in its elements that justice cannot have been done,
                    or where [the error] is grave error which amounts to a
                    denial of a fundamental right of the accused, or the error
                    has resulted in a miscarriage of justice or in the denial to
                    appellant of a fair trial or where the error is such as to
                    seriously affect the fairness, integrity or public reputation
                    of judicial proceedings or where it can be fairly said the
                    instructional mistake had a probable impact on the jury’s
                    finding that the defendant was guilty.

       State v. Odom, 307 N.C. 655, 660, 300 S.E.2d 375, 378 (1983) (citing United States v.

       McCaskill, 676 F. 2d 995, 1002 (4th Cir. 1982) (internal quotation marks omitted).

¶ 52         N.C. Gen. Stat. § 15-207 creates a qualified privilege for:

                    [a]ll information and data obtained in the discharge of
                    official duty by any probation officer shall be privileged
                    information, shall not be receivable as evidence in any

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                    court, and shall not be disclosed directly or indirectly to any
                    other than the judge or to others entitled under this Article
                    to receive reports, unless and until otherwise ordered by a
                    judge of the court or the Secretary of Public Safety.

       N.C. Gen. Stat. § 15-207 (2019); see State v. Craft, 32 N.C. App. 357, 361, 232 S.E.2d

       282, 285, disc. rev. denied, 292 N.C. 642, 235 S.E.2d 63 (1977) (concluding the

       qualified privilege created by N.C. Gen. Stat. § 15-207 was inapplicable to case where

       “the items seized were not information and data”).

¶ 53         For multiple reasons, we reject Defendant’s argument the trial court erred in

       admitting his GPS data in this case. First, Defendant moved to suppress pursuant

       to N.C. Gen. Stat. § 15A-974 any evidence related to the search warrant seeking

       Defendant’s GPS data obtained from the monitoring device he was wearing. Under

       N.C. Gen. Stat. § 15A-974(a)(2), evidence must be suppressed if “[i]t is obtained as a

       result of a substantial violation of the provisions of [Chapter 15A].” N.C. Gen. Stat.

       § 15A-974(a)(2) (2019) (emphasis added).           Thus, Section 15A-974(a)(2) does not

       provide a mechanism by which Defendant could allege evidence was obtained as a

       result of a substantial violation of Chapter 15, the chapter under which the

       controlling statute, N.C. Gen. Stat. § 15-207, is found.

¶ 54         Second, the qualified privileged belonged to DPS, and DPS waived that

       privilege by releasing data to law enforcement as to where Defendant traveled on 22

       March 2017. See Craft, 32 N.C. App. at 361, 232 S.E.2d at 285; see also State v. Hardy,



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       293 N.C. 105, 126, 235 S.E.2d 828, 841 (stating a qualified privilege can be waived).

       Pursuant to DPS’s Administrative Memorandum 01.14.10-13 effective 24 October

       2013, DPS was allowed to “[p]rovide location information [of offenders subject to

       electronic monitoring] to law enforcement at their request.”      The policy was re-

       published in DPS’s May 2016 Tip of the Month interoffice memorandum. Copies of

       both documents were admitted into evidence during the suppression hearing.

¶ 55         Lastly, McCurry, on behalf of DPS, complied with the search warrant in

       providing the data to law enforcement, and it was this data that was actually

       admitted at trial. Therefore, we conclude no plain error occurred at trial with respect

       to the admission of GPS data concerning Defendant. See Odom, 307 N.C. at 660, 300

       S.E.2d at 378.

                        VI.    Refusal to Allow Cross-Examination

¶ 56         In his third argument, Defendant contends the trial court erred by not allowing

       him to cross-examine Pegg’s niece, Riddle, regarding a Facebook message that Pegg

       sent his mother.   He argues that if the message had “been properly allowed in

       evidence, it would have cast sufficient doubt upon the State’s case to have resulted in

       the jury having reached a different result.” We disagree.

¶ 57         “The trial court’s determination as to whether an out-of-court statement

       constitutes hearsay is reviewed de novo on appeal.” State v. Castaneda, 215 N.C.

       App. 144, 147, 715 S.E.2d 290, 293 (emphasis added), appeal dismissed, 365 N.C. 354,


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       718 S.E.2d 148 (2011).

¶ 58         “Hearsay” is defined as “a statement, other than one made by the declarant

       while testifying at the trial or hearing, offered in evidence to prove the truth of the

       matter asserted.” N.C. Gen. Stat. § 8C-1, Rule 801 (2021). Hearsay is generally

       inadmissible. N.C. Gen. Stat. § 8C-1, Rule 802 (2021).

¶ 59         In this case, Riddle attempted to testify regarding a Facebook message sent by

       Pegg to his mother on 22 March 2017. Pegg’s message stated: “Knife to a gunfight it

       is. Heading to Haw Branch with a knife alone, but I saw Jared heading that way.

       Two birds, one stone or knife, whatever.” The trial court conducted a voir dire

       examination regarding the admissibility of testimony concerning Pegg’s message.

       The trial court ruled Riddle’s testimony regarding the Facebook message was hearsay

       because Riddle’s grandmother told her about the Facebook message. The trial court

       did not err in finding Riddle’s testimony about the Facebook message was hearsay

       because the evidence was being offered for the truth of the matter asserted—to show

       Pegg headed to Haw Branch to partake in a fight on the day he was murdered. See

       N.C. Gen. Stat. § 8C-1, Rules 801.           Therefore, the proposed testimony was

       inadmissible. See N.C. Gen. Stat. § 8C-1, Rule 802.

¶ 60         Defendant relies on State v. McElrath in support of his argument that the trial

       court erred in excluding the Facebook message. 322 N.C. 1, 366 S.E.2d 442 (1988).

       In McElrath, the trial court refused to admit into evidence the defendant’s exhibit

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       which was a “drawing found by law enforcement officers among the victim’s personal

       effects [including] a rough map of the area surrounding [the] defendant’s North

       Carolina home and numerous written notations indicating a possible larceny scheme”

       targeting the defendant’s home. Id. at 11, 366 S.E.2d at 448. The defendant also

       offered evidence to show the victim had argued with several other persons and left

       with those persons on the date that the victim disappeared. Id. at 6–7, 366 S.E.2d at

       443. Our Supreme Court held that the trial court erred in refusing to admit the

       document because it “was relevant to a crucial issue in th[e] case,” and the defendant

       met his burden to show the error was prejudicial. Id. at 14, 366 S.E.2d at 449–50.

¶ 61         Defendant argues “this case is the same as McElrath,” and had the trial court

       admitted the Facebook message, “it would have cast sufficient doubt upon the State’s

       case to have resulted in the jury having reached a different result; thus, he contends

       the error was prejudicial. We disagree with Defendant’s assessment.

¶ 62         We have previously held:

                    [t]he rule of relevancy for evidence of [guilt of one other
                    than the defendant] is that it must do more than cast doubt
                    over the defendant’s guilt merely because it is possible
                    some other person could have been responsible for the
                    crime with which he has been charged.

                    Evidence that another committed the crime for which the
                    defendant is charged generally is relevant and admissible
                    as long as it does more than create an inference or
                    conjecture in this regard. It must point directly to the guilt
                    of the other party. Under Rule 401[,] such evidence must

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                    tend both to implicate another and be inconsistent with the
                    guilt of the defendant.

       State v. Israel, 353 N.C. 211, 217, 539 S.E.2d 633, 637 (2000).

¶ 63         In this case, the Facebook message indicates Pegg may have headed to Haw

       Branch at some time on 22 March 2017 with the intention to fight an undisclosed

       person; however, Pegg’s message does no “more than cast doubt over [D]efendant’s

       guilt merely because it is possible some other person could have been responsible for

       the crime; it does not “point directly to the guilt of [another] party.” See Israel, 353

       N.C. at 217, 539 S.E.2d at 637. This conclusion is particularly bolstered given Pegg

       was murdered while he was sitting on his living room couch, and the State’s evidence

       tends to show the bullets and shell casings found at Pegg’s home matched bullets in

       Defendant’s possession and were fired from a gun that was in Defendant’s possession.

       Furthermore, the record tends to show Defendant was at the address of Pegg’s house

       on 22 March 2017 during a time when the offense could have been committed and

       after Pegg was last seen alive. Unlike McElrath, Defendant in this case did not

       present any other evidence to cast doubt upon the State’s theory of the case; he solely

       created an inference that another person was responsible for Pegg’s death. See id. at

       217, 539 S.E.2d at 637. Thus, the proposed evidence is too remote and speculative to

       be relevant. See id. at 217, 539 S.E.2d at 637. Therefore, the trial court properly

       denied admitting Pegg’s Facebook message at trial.



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                             VII.   Firearm Identification Evidence

¶ 64         In his fourth argument, Defendant contends that the trial court erred by

       allowing the State’s firearm expert to opine the empty, fired, shell casings; the 9mm

       fired, copper-jacket bullet; and the jacket fragment were all fired from the same

       Cobray firearm on the basis her opinion lacked a proper foundation. He further

       contends Wilson did not testify as to how she applied the principles and methods she

       normally uses in examining firearms and bullets to this case. The State argues

       Wilson’s “extensive testimony showed the principles and methods used by her in

       identifying the murder weapon were reliable.” For the following reasons, we agree

       with the State.

¶ 65         Defendant acknowledges that he failed to object to the admission of Wilson’s

       expert testimony at trial, but nevertheless argues the trial court committed plain

       error by allowing her testimony.

¶ 66         “Under the plain error rule, [the] defendant must convince this Court not only

       that there was error, but that absent the error, the jury probably would have reached

       a different result.” State v. Griffin, 268 N.C. App. 96, 99, 834 S.E.2d 435, 437 (2019)

       (citation omitted).

¶ 67         N.C. Gen. Stat. § 8C-1, Rule 702 provides:

                    (a)   [i]f scientific, technical or other specialized
                    knowledge will assist the trier of fact to understand the
                    evidence or to determine a fact in issue, a witness qualified


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                     as an expert by knowledge, skill, experience, training, or
                     education, may testify thereto in the form of an opinion, or
                     otherwise, if all of the following apply:

                                  (1) The testimony is based upon sufficient
                                      facts or data.
                                  (2) The testimony is the product of reliable
                                      principles and methods.
                                  (3) The witness has applied the principles and
                                      methods reliably to the facts of the case.

       N.C. Gen. Stat. § 8C-1, Rule 702(a) (2019); see State v. McGrady, 368 N.C. 880, 889–

       90, 787 S.E.2d 1, 8–9 (2016). As we explained in State v. McPhaul, “[t]he precise

       nature of the reliability inquiry will vary from case to case depending on the nature

       of the proposed testimony.” 256 N.C. App. 303, 313, 808 S.E.2d 294, 303 (2017), disc.

       rev. improvidently allowed, 371 N.C. 467, 818 S.E.2d 102 (2018). “[A] trial court’s

       ruling on the admissibility of expert testimony will not be reversed on appeal absent

       a showing of abuse of discretion.” State v. Godwin, 369 N.C. 605, 610–11, 800 S.E.2d

       47, 51 (2017) (internal quotation marks omitted).

¶ 68           The State cites to State v. Griffin to argue Wilson’s testimony was proper, and

       the trial court did not commit plain error with respect to the admission of her

       testimony. 268 N.C. App. 96, 834 S.E.2d 435 (2019). In Griffin, our Court rejected

       the defendant’s contention that the trial court plainly erred where the expert witness

       testified:

                     (1)   she was formally educated and trained in forensic
                           science and in the field of firearms examination;

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                    (2)    she tested and analyzed the firearm, bullets, and
                           cartridge casings in keeping with the procedures and
                           methods learned during her specialized training in
                           firearms examination;
                    (3)    her tests generated data, which she analyzed and
                           used to form an opinion on whether or not the bullets
                           and casings came from the recovered firearm; and
                    (4)    the data and conclusion were described in a written
                           report and subsequently peer-reviewed by one of
                           [her] colleagues in the Firearms Unit.

       Id. at 108, 834 S.E.2d at 441. Furthermore, the expert witness testified on cross-

       examination as to national standards set for firearms examination as well as reports

       and studies conducted in the field of firearms analysis. Id. at 108, 834 S.E.2d at 442.

       We concluded the testimony of the expert witness “show[ed] that her opinion was the

       product of reliable principles and methods, and that she reliably applied the

       principles and methods to the facts of the case”; thus, we held the trial court did not

       abuse its discretion or commit plain error in admitting her testimony. Id. at 109, 834

       S.E.2d at 442.

¶ 69         In the instant case, Wilson was tendered as an expert in the area of firearms

       identification and examination without objection upon testifying regarding her

       formal education and training. According to Wilson, after receiving a master’s degree

       in forensic science, she completed a two-year in-house training program in the

       firearms section of the North Carolina State Crime Lab. She was a firearms examiner

       for the North Carolina State Crime Lab from 2011 to 2017. The training involved



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       both written and practical components, and consisted of a wide range of study topics,

       including: the history of firearms, ammunition, mechanics of firearms, disassembling

       and reassembling multiple types of firearms, safety features, the manufacture of

       firearms, microscopic comparisons, class characteristics, individual characteristics,

       serial number restorations, and distance determinations. The training also included

       a final, practical competency examination involving forensic firearm identification.

¶ 70         Wilson worked as a firearms examiner for the Minnesota Bureau of Criminal

       Apprehension since January of 2018. The number of comparisons she has performed

       as a firearms examiner “go[es] into the thousands.” Wilson had testified as an expert

       in firearms examination and identification in North Carolina courts approximately

       twenty-five times.

¶ 71          When asked by the State what makes forensic firearm identification possible,

       Wilson testified:

                    The identification is possible because of the marks that are
                    imparted onto a firearm during the manufacturing process.
                    During the manufacturing process, a manufacturer will
                    make some choices about what kind of firearm they’re
                    going to manufacture, and there are some characteristics
                    that they choose and they select. Examples of that would
                    be the number of lands and grooves that they are going to
                    put inside a barrel. Those are raised and lowered portions
                    on the inside of the barrel that grip the bullet and they
                    twist to the right or the left, and that’s what imparts spin
                    and stability onto the bullet.

                    So a manufacturer may choose that they want five lands

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and grooves and they’re going to twist to the right, or they
may opt to have six lands and grooves and twist to the left.
Those are class characteristics. So those are more broad
and could apply to multiple firearms, multiple models, et
cetera.

Another example would be the shape of the firing pin that
they are going to manufacture for that firearm. It may be
hemispherical. It may be elliptical. These are all decisions
that are made prior to the manufacturing process, and
these are the class characteristics, or a much broader group
of characteristics.

Additionally, during the manufacturing process, but not
controlled by the manufacturer, are the individual
characteristics. These are aspects of the firearm that are
unique to that particular firearm, and it’s because of the
manufacturing process, it’s because of the tools that are
used to manufacture, and the mechanisms used to
manufacture.

During the manufacturing process, the tools used to
manufacture the firearms are stronger. That’s how they’re
able to cut away from basically a steel tube and turn it into
a barrel. But during this process, the tools themselves will
change to a small degree. Think of it as a piece of
sandpaper on wood. As you brush the sandpaper on the
wood, the sandpaper is removing particles of that wood.
But over time that sandpaper also changes such that it gets
dulled and eventually has to be replaced. It’s that same
aspect with the manufacturing of firearms. So those tools
will change, and therefore, they’re imparting different
marks onto the firearms, one from the next. And then, as
well, the tools have to be changed or resharpened as they
dull.

The other way that firearms can take on individual
characteristics is after they leave the manufacturer,
through use, through abuse, through rust, corrosion; all of

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                    those aspects can create individual characteristics.

                    Those individual characteristics are useful for the
                    comparative process when they are reproducible, meaning
                    that they are copied into multiple bullets or multiple
                    cartridge cases. As a firearms examiner, I’m looking for
                    that detail that can be seen, that gets copied onto the
                    cartridge cases or onto the bullets, for example, from the
                    firearm.

¶ 72         Wilson then testified regarding the process by which she typically examines a

       firearm when it comes into her office:

                    Initially, I would examine the firearm looking for any
                    damaged or missing components, looking at just the overall
                    condition of the firearm. I’m going to do a function test on
                    the firearm. That’s going to include examining all the
                    safety features that are present and testing them to see if
                    they are functioning properly. That also includes a trigger-
                    pull determination, which is a measurement of how much
                    weight has to be applied to the trigger in order for the
                    firearm to fire. And then as the final step of the function
                    test, the firearm is test fired. That is where ammunition is
                    placed into the firearm. This is laboratory ammunition,
                    typically, and the firearm is test fired. So the trigger is
                    pulled, the firearm is fired, and the cartridge case and
                    bullets are collected.

                    Test firing is generally done in a water tank, which is a big
                    steel tank full of water. And by shooting into this tank of
                    water, it slows down the projectiles, the bullets, such that
                    you can retrieve those bullets, and they are in a pristine or
                    near pristine condition for any future comparisons in the
                    case, and this also serves as the last step of the function
                    exam to show that the firearm is capable of firing.

¶ 73         Next, Wilson testified that she performed the tests described above on the



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Ruger 9-millimeter and Cobray 9-millimeter that she examined and had the following

exchange with the State prosecutor regarding her findings:

            [Wilson]:    [t]he K-1 Cobray pistol functions properly and
                         has a single action trigger pull greater than
                         four pounds, but less than or equal to five
                         pounds.

                         The K-2 Ruger pistol functions properly. The
                         K-2 Ruger pistol has a single action trigger
                         pull greater than five pounds, but less than or
                         equal to six pounds and a double action
                         trigger pull greater than 11-and-a-half
                         pounds, but less than or equal to 13 pounds.

            [State]:     And so did both of those firearms fire
                         properly?

            [Wilson]:    Yes, that’s correct.

            [State]:     And as part of your firearms examination do
                         you look at – you said you examine the
                         firearm itself; is that right?

            [Wilson]:    Yes.

            [State]:     Do you ever examine the firing pin on these
                         weapons?

            [Wilson]:    Yes.

            [State]:     Was there anything that you noticed about
                         the firing pin on either of these items?

            [Wilson]:    Yes. As a part of looking at the class
                         characteristics, I note the – for examination
                         purposes if it’s going to be used for
                         comparison, then I will look at the shape of

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                          the firing pin to see if that is in agreement on
                          class characteristics to anything else that I
                          would be comparing it to.

             [State]:     And did you examine the firing pin on the
                          Ruger 9 millimeter?

             [Wilson]:    I did not end up comparing the Ruger 9
                          millimeter to anything in this case. So I did
                          not specifically examine the firing pin.

             [State]:     Did you examine the firing pin on the Cobray?

             [Wilson]:    Yes, I did.

             [State]:     And what, if anything, did you notice about
                          the firing pin on the Cobray?

             [Wilson]:    I noted that it left a rectangular shaped firing
                          pin impression when firing.

             [State]:     And based on your training and experience in
                          the time you’ve been doing firearms
                          examinations, is there anything unique about
                          a rectangular firing pin?

             [Wilson]:    That is extremely uncommon for a center fire
                          firearm, that would be a firearm that hits the
                          cartridge in the center. While rectangular
                          firing pins are common for your rim-fire
                          caliber firearms, such as your .22 caliber
                          firearms, they are not common for the center-
                          fire firearms such as a 9 millimeter Luger
                          pistol.

¶ 74   Wilson went on to testify regarding how she performs a comparison test:

             A comparison examination is going to be conducted using a
             comparative microscope. This is a microscope that has a

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                    single eyepiece, but it has two separate stages. So you can
                    put one item on one stage and a separate item on the other
                    stage. And when you look through the eyepiece you are
                    able to see both items simultaneously. So you can lay them
                    side-by-side and do essentially, a microscopic comparison
                    between those two.

                    For the purposes of firearms examination, first what I’ll do
                    is I’ll look at those test fired bullets or cartridge cases that
                    I acquired through the test firing process. I’m looking at
                    those to see what kind of detail is replicating and suitable
                    for comparison purposes.

                    When we do comparative examinations, first we look at
                    those class characteristics. So those, as I spoke of earlier,
                    are a more broad category of characteristics. We group
                    items based off of those class characteristics. If all the
                    discernible class characteristics are in agreement, then we
                    continue the examination using the comparative
                    microscope on individual characteristics. However, if there
                    is a difference in the class characteristics, such as a bullet
                    has five land and groove impressions, but the firearm
                    submitted for comparison has six land and groove
                    impressions, or lands and grooves . . . then that is a
                    difference in class characteristics, and that bullet could not
                    have been fired by that firearm, and therefore, it is
                    eliminated and the examination is completed at that time.

                    But if those class characteristics are all in agreement, then
                    we move on to the individual comparison, and that is done
                    through the comparative microscope.

¶ 75         Wilson testified she applied the methods and principles of comparison testing,

       described above, to the items that were received in this case, including the firearms,

       shell casings, bullets, and projectiles. Based on the data, she prepared a report of her

       examinations. Wilson concluded items Q-1, Q-2, Q-3, Q-4, Q-5, Q-6, and Q-7, the

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       silver-colored spent shell casings found around Pegg’s body, were all fired from the

       K-1 Cobray pistol. Item Q-13, a one caliber .38 class fired copper jacket collected from

       Pegg’s jaw, “was determined to have been fired from the same firearm as the Q-8

       bullet, the Q-11 jacket fragment [found embedded in wood inside Pegg’s home], and

       the Q-15 bullet. And the Q-13 jacket was fired from the K-1 Cobray pistol.” Item Q-

       15, a one caliber .38 class fired copper-jacketed bullet collected from Pegg’s jaw, “was

       fired from the same firearm as the Q-8 bullet, the Q-11 jacket fragment, and the Q-

       13 jacket. And the Q-15 bullet was fired from the K-1 Cobray pistol.”

¶ 76         On cross-examination, Wilson testified regarding ammunition and the type of

       ammunition she used in performing the comparison tests in the instant case. She

       further testified it was not possible that two different weapons fired the rounds she

       examined.

¶ 77         Like the expert witness’s testimony in                 Griffin, Wilson’s testimony

       demonstrates it was “based upon sufficient facts or data” and “is the product of

       reliable principles and methods.” See N.C. Gen. Stat. § 8C-1, Rule 702(a); Griffin,

       268 N.C. App. at 108, 834 S.E.2d at 442. We conclude Wilson’s testimony shows she

       “applied the principles and methods reliably to the facts of the case.” See N.C. Gen.

       Stat. § 8C-1, Rule 702(a). Therefore, we hold the trial court did not plainly err by

       admitting Wilson’s expert testimony.

              VIII.   Motion to Dismiss the First Degree Murder Charge

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¶ 78         In his final argument, Defendant argues the trial court erred in denying his

       motion to dismiss the charge of first degree murder. Specifically, Defendant contends

       the State’s evidence was insufficient to show malice, premeditation, and deliberation

       or that he committed the killing. We disagree.

                    We review the trial court’s denial of a motion to dismiss de
                    novo. A motion to dismiss for insufficient evidence is
                    properly denied if there is substantial evidence (1) of each
                    essential element of the offense charged, or of a lesser
                    offense included therein, and (2) of defendant’s being the
                    perpetrator of such offense. Substantial evidence is such
                    relevant evidence as a reasonable mind might accept as
                    adequate to support a conclusion. All evidence, both
                    competent and incompetent, and any reasonable inferences
                    drawn therefrom, must be considered in the light most
                    favorable to the State.       Additionally, circumstantial
                    evidence may be sufficient to withstand a motion to dismiss
                    when a reasonable inference of defendant’s guilt may be
                    drawn from the circumstances. If so, it is the jury’s duty to
                    determine if the defendant is actually guilty.

       State v. Blakney, 233 N.C. App. 516, 518, 756 S.E.2d 844, 846 (2014) (citation

       omitted). “The State is entitled to every reasonable inference to be drawn from the

       evidence. Contradictions and discrepancies do not warrant dismissal of the case;

       rather, they are for the jury to resolve. Defendant’s evidence, unless favorable to the

       State, is not to be taken into consideration.” State v. Franklin, 327 N.C. 162, 172,

       393 S.E.2d 781, 787 (1990) (citations omitted).

¶ 79         To convict a defendant of first degree murder under N.C. Gen. Stat. § 14-17,

       “the State must prove: (1) an unlawful killing; (2) with malice; (3) with the specific

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       intent to kill formed after some measure of premeditation and deliberation.” State v.

       Peterson, 361 N.C. 587, 595, 652 S.E.2d 216, 223 (2007), cert. denied, 552 U.S. 1271,

       128 S. Ct. 1682, 170 L. Ed. 2d 377 (2008).

¶ 80         “[T]o overcome a motion [to dismiss in a murder case] and justify a conviction

       of the defendant, the State must offer evidence from which it can be reasonably

       inferred (1) that deceased died by virtue of a criminal act, and (2) that the act was

       committed by the defendant.” State v. Lee, 294 N.C. 299, 302, 240 S.E.2d 449, 451
       (1978) (citations omitted). “In order for the trial court to submit a charge of first

       degree murder to the jury, there must have been substantial evidence presented from

       which a jury could determine that the defendant intentionally . . . killed the victim

       with malice, premeditation and deliberation.” State v. Corn, 303 N.C. 293, 296, 278

       S.E.2d 221, 223 (1981).

¶ 81         Here, the parties do not dispute Pegg “died by virtue of a criminal act”; thus,

       we turn to the issue of whether the act was committed by Defendant. See Lee, 294

       N.C. at 302, 240 S.E.2d at 451.

       C. Substantial Evidence of Defendant as the Murderer

¶ 82         Our Courts have considered factors such as “proof of motive, opportunity,

       capability, and identity” when determining whether the evidence shows that a

       particular person committed a particular crime. State v. Bell, 65 N.C. App. 234, 238,

       309 S.E.2d 464, 467 (1983), aff’d, 311 N.C. 299, 316 S.E.2d 72 (1984). Although these


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       factors are not essential elements of first degree murder, they “are circumstances

       which are relevant to identify an accused as the perpetrator of a crime.” Id. at 238,

       309 S.E.2d at 467. “[W]here the evidence is sufficient only to raise a suspicion or

       conjecture as to either the commission of the offense or the identity of the defendant

       as the perpetrator of it, the motion to dismiss should be allowed.” State v. Hayden,

       212 N.C. App. 482, 484, 711 S.E.2d 492, 494 (2011) (citation and internal quotation

       marks omitted).

¶ 83         Relying on North Carolina Supreme Court cases of State v. Cutler, 271 N.C.

       379, 156 S.E.2d 679 (1967), State v. White, 293 N.C. 91, 235 S.E.2d 55 (1977), State

       v. Lee, 294 N.C. 299, 240 S.E.2d 449 (1978), State v. Jones, 280 N.C. 60, 184 S.E.2d

       862 (1971), and State v. Hood, 77 N.C. App. 170, 334 S.E.2d 421 (1985), Defendant

       argues the State’s circumstantial evidence was insufficient to show he committed the

       murder.

¶ 84         In State v. Cutler, the Court held that there was insufficient evidence to

       establish that the defendant had an opportunity to commit the crime charged,

       although it could be reasonably inferred from the evidence that the defendant was at

       the home of the deceased around the time the victim died. 271 N.C. at 383, 156 S.E.2d

       at 682.

¶ 85         In State v. White, the Court held that the State had established that the

       defendant had an opportunity to commit the crime charged, but there was no other

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       evidence of the defendant’s guilt. 293 N.C. at 97, 235 S.E.2d at 59.

¶ 86         In State v. Lee, the Court held the defendant’s motion to dismiss was

       erroneously denied because the “State failed to offer substantial evidence that the

       defendant was the one who shot [the victim]” despite any “inference that the

       “defendant bore malice toward [the victim].” 294 N.C. at 302–03, 240 S.E.2d at 451.

¶ 87         In State v. Jones, the Court reversed a trial court’s grant of the defendant’s

       motion to dismiss. 280 N.C. at 67, 184 S.E.2d at 866. The State presented evidence

       sufficient to show the defendant had an opportunity to commit the crime, but the

       “State failed to offer substantial evidence that [the] defendant was the one who shot

       his wife” to link the empty cartridges found in the defendant’s pocket to the bullets

       that killed the victim. Id. at 65–67, 184 S.E.2d at 865–66.

¶ 88         Finally, in State v. Hood, the Court held that “neither motive nor opportunity”

       could be reasonably inferred from the evidence of the case. 77 N.C. App. at 173, 334

       S.E.2d at 423 (emphasis omitted). A witness heard a gunshot fired in the direction

       of the victim’s residence and then saw the defendant drive away. Id. at 173, 334

       S.E.2d at 423. The Court noted that “[t]here [was] no evidence that [the] defendant

       had access to the [victim’s residence] or that he otherwise gained entrance to it. There

       [was] no evidence that [the] defendant was armed or that the deceased was present

       in [his residence] at the time.” Id. at 173, 334 S.E.2d at 423.

¶ 89         The above cases are distinguishable from the instant case where there is

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       substantial evidence Defendant had the opportunity to commit the crime and was

       capable of doing so. See Bell, 65 N.C. App. at 238, 309 S.E.2d at 467. Furthermore,

       there is substantial evidence that Defendant possessed the murder weapon as well

       as the same ammunition that was used to shoot Pegg, and he was armed at a time

       when a reasonable jury could find Defendant committed the crime. See Jones, 280

       N.C. at 67, 184 S.E.2d at 866. Finally, the record shows Pegg’s house was unlocked

       when he was at home; Defendant could have easily gained entrance to the home given

       it was unlocked, and Defendant was presumably familiar with the home given the

       prior work he performed at the house. See Hood, 77 N.C. App. at 173, 334 S.E.2d at

       423. We now discuss Defendant’s opportunity and capability of committing the

       murder of Pegg.

          1. Opportunity

¶ 90         Defendant argues there is “absolutely no evidence of . . . opportunity” in this

       case. The State contends there is sufficient evidence to show Defendant had the

       opportunity as well as the means to commit murder.

¶ 91         “In order for this Court to hold that the State has presented sufficient evidence

       of [the] defendant’s opportunity to commit the crime in question, the State must have

       presented at trial evidence not only placing the defendant at the scene of the crime,

       but placing him there at the time the crime was committed.” Hayden, 212 N.C. App.

       at 488, 711 S.E.2d at 497.


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¶ 92          In this case, the State’s evidence showed Defendant’s electronic monitoring

       device placed Defendant in the vicinity of Pegg’s home and at the scene of the crime

       on 22 March 2017—one day before the deceased body was found and on the same day

       Pegg was last seen alive, and at a time when a reasonable jury could find the crime

       could have been committed. See State v. Miles, 222 N.C. App. 593, 601, 730 S.E.2d

       816, 823 (2012) (holding testimony that the defendant was seen at the victim’s house

       coupled with phone records pinpointing the defendant to the vicinity of the victim’s

       home and site of the crime established the defendant had the opportunity to commit

       the murder in light of the State’s evidence as a whole), aff’d, 366 N.C. 503, 750 S.E.2d

       833 (2013).

¶ 93          Additionally, the State presented the testimony of Carson, whom Defendant

       told he, “was going up the road to take care of some business,” while Defendant was

       located on the same road as the victim’s house. Defendant made his statement after

       he showed Carson a firearm matching the description of the murder weapon.

       Considering the evidence in the light most favorable to the State, a reasonable jury

       could conclude that Defendant was in the vicinity of Pegg’s home and the scene of the

       crime at the time of Pegg’s death, which would establish Defendant had the

       opportunity to commit the murder. See Blakney, 233 N.C. App. at 518, 756 S.E.2d at

       846.

          2. Capability

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¶ 94         Our courts have held evidence of opportunity by itself is insufficient to carry a

       first degree murder case to the jury. See Bell, 65 N.C. App. at 238–39, 309 S.E.2d at

       467. Thus, we next consider whether Defendant was capable of committing the

       murder. See id. at 238, 309 S.E.2d at 467.

¶ 95         In the instant case, silver-colored shell casings with the headstamp of FC

       LUGER 9 MM found around the victim’s body matched the ammunition that was

       found in Defendant’s truck by law enforcement on 22 March 2021, shortly after

       Defendant was in the vicinity of Pegg’s home, based on GPS data provided at trial.

       The search of Defendant’s truck and home also revealed Defendant possessed

       multiple guns, one of which was later determined to be the murder weapon. Thus,

       the record contains sufficient evidence to permit a reasonable jury to find he had the

       capability to commit first degree murder. See Lee, 294 N.C. at 302, 240 S.E.2d at 451.

¶ 96         Although the State’s evidence was solely circumstantial in this case, the

       evidence did more than “raise a suspicion or conjecture as to . . . the identity of

       [D]efendant as the perpetrator of it.” See Hayden, 212 N.C. App. at 484, 711 S.E.2d

       at 494. Rather, the evidence was sufficient to survive a motion to dismiss as a

       reasonable jury could infer Pegg’s death was a result of Defendant’s criminal act. See

       Blakney, 233 N.C. App. at 518, 756 S.E.2d at 846; Bell, 65 N.C. App. at 238, 309

       S.E.2d at 467. We hold there was substantial evidence that Pegg’s murder was

       committed by Defendant when we consider all of the evidence in the light most

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       favorable to the State. See id. at 518, 756 S.E.2d at 846; Lee, 294 N.C. at 302, 240

       S.E.2d at 451.

          3. Motive, Premeditation, &amp; Deliberation

¶ 97         Defendant asserts the State’s case failed to present substantial evidence of

       malice, premeditation, and deliberation. We disagree.

¶ 98         It is well-established by our Courts that “malice is presumed where the

       defendant intentionally assaults another with a deadly weapon, thereby causing the

       other’s death.” State v. Leazer, 353 N.C. 234, 238, 539 S.E.2d 922, 925 (2000) (citation

       omitted). “Premeditation means that the act was thought over beforehand for some

       length of time; however, no particular amount of time is necessary for the mental

       process of premeditation.” State v. Trull, 349 N.C. 428, 509 S.E.2d 178 (1998), cert.

       denied, 528 U.S. 835, 120 S. Ct. 95, 145 L. Ed. 2d 80 (1999). “Deliberation means an

       intent to kill carried out by the defendant in a cool state of blood, in furtherance of a

       fixed design for revenge or to accomplish an unlawful purpose and not under the

       influence of a violent passion, suddenly aroused by lawful or just cause or legal

       provocation.” State v. Hamlet, 312 N.C. 162, 170, 321 S.E.2d 837, 842–43 (1984)

       (citation omitted). “The phrase ‘cool state of blood’ means that the defendant’s anger

       or emotion must not have been such as to overcome the defendant’s reason.” Id. at

       170, 321 S.E.2d at 843 (citation omitted).

¶ 99         “Premeditation and deliberation are mental processes which are ordinarily not


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        susceptible to proof by direct evidence.” State v. Olson, 330 N.C. 557, 565, 411 S.E.2d

        592, 596 (1992). Our Supreme Court

                     has identified several examples of circumstantial evidence,
                     any one of which may support a finding of the existence of
                     [premeditation and deliberation]: (1) absence of
                     provocation on the part of the deceased, (2) the statements
                     and conduct of the defendant before and after the killing,
                     (3) threats and declarations of the defendant before and
                     during the occurrence giving rise to the death of the
                     deceased, (4) ill will or previous difficulties between the
                     parties, (5) the dealing of lethal blows after the deceased
                     has been felled and rendered helpless, (6) evidence that the
                     killing was done in a brutal manner, and (7) the nature and
                     number of the victim’s wounds.

        State v. Childress, 367 N.C. 693, 695, 766 S.E.2d 328, 330 (2014) (citation omitted).

¶ 100         Here, there is a presumption of malice given the evidence tends to show Pegg

        was intentionally killed with a deadly weapon. See Leazer, 353 N.C. at 238, 539

        S.E.2d at 925. There is also substantial evidence the killing was premeditated and

        deliberate. See Blakney, 233 N.C. App. at 518, 756 S.E.2d at 846; Childress, 367 N.C.

        at 695, 766 S.E.2d at 330. Pegg was found in a seated position on his couch with

        multiple gunshot wounds to his head. A reasonable jury could conclude Pegg did

        nothing to provoke Defendant. See State v. Rose, 339 N.C. 172, 195, 451 S.E.2d 211,

        224 (1994) (stating the victim’s position of sitting in a chair with a pillow or blanket

        on his chest indicated a lack of provocation on his part), cert. denied, 515 U.S. 1135,

        115 S. Ct. 2565, 132 L. Ed. 2d 818 (1995). The multiple shots fired support an



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        inference of Defendant’s premeditation and deliberation. See State v. Taylor, 362

        N.C. 514, 533, 669 S.E.2d 239, 258 (2008), cert. denied, 558 U.S. 851, 130 S. Ct. 129,

        175 L. Ed. 2d 84 (2009). At around the time that a reasonable jury could infer the

        murder occurred, Defendant showed Carson a 9-millimeter firearm, consistent with

        the description of the murder weapon. He also told Carson he “had to go up the road

        to take care of some business.” A reasonable jury could infer that Defendant intended

        to travel up Dillingham Road to Pegg’s house to kill Pegg. See State v. Williams, 151

        N.C App. 535, 540, 566 S.E.2d 155, 159 (2002) (reasoning that bringing a revolver to

        a meeting indicated “some preparation and intent to do [the victim] harm”).

¶ 101         The evidence tends to show Defendant fired three shots into Pegg’s head, two

        of which were discharged at close range. This indicates Pegg was shot after he had

        been felled and rendered unconscious, and he was killed in a brutal manner. See

        Childress, 367 N.C. at 695, 766 S.E.2d at 330. In light of such evidence, we hold there

        was substantial evidence of premeditation and deliberation; thus, the trial court did

        not err in denying Defendant’s motion to dismiss the charge of first degree murder

        and submitting the charge to the jury. See Blakney, 233 N.C. App. at 518, 756 S.E.2d

        at 846; Corn, 303 N.C. at 296, 278 S.E.2d at 223.

                                        IX.    Conclusion

¶ 102         We hold the trial court did not err in denying Defendant’s motion to suppress

        any evidence seized during the search of his residence because the affidavit was


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        sufficient on its face. Further, the trial court’s findings of fact are supported by

        competent evidence, and its conclusions of law are supported by findings of fact in its

        order on the motion to suppress. The trial court did not commit plain error by denying

        Defendant’s motion to suppress any evidence of Defendant’s electronic monitoring

        data because Defendant did not cite to a statutory mechanism allowing him to

        suppress such evidence, DPS waived its privilege with respect to the data by verbally

        releasing it to law enforcement, and the GPS evidence actually admitted at trial was

        the product of law enforcement’s search warrant.

¶ 103         The trial court did not err by disallowing the State’s witness to testify

        concerning the murder victim’s Facebook message because it was hearsay. Even if

        the message was offered for a non-hearsay purpose, Defendant failed to show the

        message was relevant because he did no more than create an inference as to another

        person’s guilt of the crime. The trial court did not plainly err in admitting testimony

        of the State’s expert witness on firearm identification and examination because her

        testimony met the requirements under N.C. Gen. Stat. § 8C-1, Rule 702(a). Lastly,

        the trial court did not err in denying Defendant’s motion to dismiss because the State

        presented substantial evidence that Defendant committed the murder, and that he

        acted with malice, premeditation, and deliberation.           Accordingly, we conclude

        Defendant received a fair trial, free of prejudicial error.

              NO ERROR.

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Judges TYSON and GORE concur.




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